                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARCO GONZALEZ and MARTHA           :
GONZALEZ, H/W,                      :     CIVIL ACTION
          Plaintiffs,               :     No.: 18-3179
                                    :
      v.                            :
                                    :
WRIGHT MANUFACTURING, INC.          :
D/B/A WRIGHT D/B/A WRIGHT           :
MANUFACTURING,                      :
            Defendant.              :
______________________________________________________________________________
                                   ORDER

       AND NOW, this _____ day of ____________________________, 2019, upon

consideration of Defendant Wright Manufacturing, Inc.’s “Motion in Limine to preclude any and

all references to or discussions of prior incidents and/or accidents involving Defendant Wright

Manufacturing, Inc.’s mowers”, and the response of Plaintiffs, it is hereby ORDERED and

DECREED that Defendant’s motion is DENIED.

                                     BY THE COURT:




                                     ______________________________
                                                             J.
                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARCO GONZALEZ and MARTHA           :
GONZALEZ, H/W,                      :     CIVIL ACTION
          Plaintiffs,               :     No.: 18-3179
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      v.                            :
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WRIGHT MANUFACTURING, INC.          :
D/B/A WRIGHT D/B/A WRIGHT           :
MANUFACTURING,                      :
            Defendant.              :
______________________________________________________________________________
       PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT WRIGHT
  MANUFACTURING, INC.’S “MOTION IN LIMINE TO PRECLUDE ANY AND ALL
 REFERENCES TO OR DISCUSSIONS OF PRIOR INCIDENTS AND/OR ACCIDENTS
    INVOLVING DEFENDANT WRIGHT MANUFACTURING, INC.’S MOWERS”

       Plaintiffs, Marco Gonzalez and Martha Gonzalez, hereby submit this response to the

motion in limine of Defendant, Wright Manufacturing, Inc. (“Defendant”), seeking to “preclude

any and all references to or discussions of prior incidents and/or accidents involving Defendant

Wright Manufacturing, Inc.’s mowers.”

I.     PRELIMINARY STATEMENT

       Defendant has filed a motion in limine seeking to preclude any mention of two incidents

that Defendant knew about in 2014 and 2015, involving operators falling from the same stander

mower and having body parts chopped off after contacting its still-moving blades as a result of

the same defectively designed clutch/brake system -- i.e., precisely what happened in this

case. As it is well settled that evidence of similar prior incidents is admissible to show that a

dangerous condition existed, or that the defendant had knowledge of the defect, Defendant’s

motion fails.

       Plaintiff Mr. Gonzalez suffered permanent injuries to his left hand after falling off

Defendant’s Wright Stander lawn mower and making contact with the still-moving blades.


                                                  2
Through their experts, Plaintiffs have determined that Defendant’s mower blades continue

spinning for 3.9 seconds after an operator departs the platform, thereby posing a grave risk to

operators who inadvertently fall from the mower. Plaintiffs also have discovered similar

incidents in 2014 and 2015 involving operators falling from the same stander mower and

having body parts chopped off because the mower blades did not stop in time -- and

Defendant had actual knowledge of this defect yet did nothing to address it:

                     Q.     … So this is a letter dated November 24, 2015, from
               John Deere & Company to you, correct?

                      [William Wright:]

                      A.      Yes.

                     Q.      And you would have received this at the time, it
               wouldn’t have been somebody else, correct?

                      A.      No, it’s me.

                       Q.     And so this is John Deere I guess when they were
               selling your units they had their own number and the called this a
               652B, commercial SB mower?

                      A.      Yes.

                      Q.    With the exception of the cover, is a John Deere
               652B the same as your Wright Stander 52-inch?

                      A.      Not Exactly.

                      Q.      What’s different about it?

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                      A.      The shape of the fenders are a little different.

                      Q.      Okay.

                      A.      But that’s the rear tire.

                      Q.      Yeah.


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       A.      Mostly little cosmetic things like that.

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        A.    So -- but 95 percent or more of the parts were
interchangeable with our [Wright Stander] mower.

       Q.    Would I be correct in saying in terms of
operation and specifically the clutch and blade braking, the
John Deere model is identical to the one standard [sic] [Wright
Stander]?

       A.      Identical, yes.

        Q.      So in this case we’ve got a Claimant named Javier
Rios, what -- whatever happened to Mr. Rios in his -- in his case,
did that ever turn into anything?

       A.      No.

       Q.     Okay. And he ran into some type of obstacle, fell
from the machine and had a portion of his hand cut off; is that your
understanding?

       A.      Yes.

       Q.    You’d agree with me that it is essentially precisely
what happened in this case, the Marco Gonzalez case?

               MR. DiSANDRO: Objection to form. You can
answer, if you can.

               THE WITNESS: Precisely is a big word

BY MR. LYNAM:

       Q.      Okay. What difference do you see?

       A.      I don’t know much about Gonzalez’s accident.

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letter explaining that Mr. Rios had his hand partially amputated
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               John Deere 652B, did you undertake any investigation to figure out
               why something like that was happening or how it could be
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               Gordon and I actually visited him some time later and talked about
               what happened.

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                      Q.     So if I understand it correctly, after this Rios
               incident there was no effort made by Wright to see if the blades
               could stop any faster than they were, correct?

                       A.     Correct.

                       Q.    We have another letter that was provided in
               discovery regarding … a claimant, his name is Jeremy Hamby so I
               guess that would be the person. Mr. Hamby had his toes cut off
               from a Wright Stander. Are you familiar with that at all?

                       A.     I would have to get the documents in front of me,
               but the name I recollect.

                       Q.     Okay.

                       A.     I believe that’s a case that was never pursued. I
               don’t think there was even litigation.

                      Q.      All right. After learning of Mr. Hamby’s toes
               being cut off in 2014, did you make any effort to see if you
               could stop the blades any faster than they were being stopped?

                       A.     No.

(Dep. Transcript of William Wright at pg. 74 line 9 to pg. 76 line 15, pg. 76 line 20 to pg. 77 line

8, pg. 80 lines 3-23 (emphasis added), relevant portions of which are attached hereto as Exhibit




                                                 5
“1”) (True and correct copies of the November 24, 2015 and August 28, 2014 Notice of

Loss/Claim Letters are attached hereto, respectively, as Exhibits “2” and “3”).

       While Defendant understandably would like to preclude the “referencing or discussing

[of these] prior incidents at trial”, its motion is patently unavailing given that these strikingly

similar incidents reflect both: (a) the existence of the defect at issue; and (b) Defendant’s long-

held knowledge of same. Accordingly, Defendant’s motion should be squarely rejected.

II.    SUMMARY OF FACTS RELEVANT TO DEFENDANT’S MOTION

       On August 8, 2017, Marco Gonzalez (“Mr. Gonzalez”) was operating a Wright Stander

(“WS”) lawn mower to cut grass at a housing complex during the course of his employment with

Picture Perfect Landscaping. Defendant designed and manufactured the mower. While Mr.

Gonzalez maneuvered the mower uphill near a guardrail on the property, the mower’s wheel

struck the rail, causing the mower to move sideways. (See Dep. Transcript of Mr. Gonzalez at

pg. 69 line 20 to pg. 70 line 9, pg. 126 lines 10-14, relevant portions of which are attached hereto

as Exhibit “4”). As the mower started sliding down the hill, Mr. Gonzalez lost his grip and was

“tossed” off its platform and landed on his back. (Id. at pg. 70 lines 7-9, pg. 86 lines 16-18, pg.

88 lines 2-3). After landing on his back, Mr. Gonzalez’s arms flung outwards and his left hand

came into contact with the still-spinning blades. (Id. at pg. 100 lines 13-21; 115 line 4 to pg. 116

line 5 & Dep. Exhibit “Gonzalez 8A”). Mr. Gonzalez testified that he made contact with the

blades “one or two seconds” after falling off the mower’s platform. (Id. at pg. 163 line 23 to pg.

165 line 21). He suffered severe hand injuries and his left thumb and index finger required

amputation. (Id. at pgs. 127-139).

       Mr. Gonzalez alleges in part that Defendant’s mower was defectively designed because

its blades took too long to stop rotating after he fell off the machine’s platform. In support of his



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claim, Mr. Gonzalez produced the expert liability reports of Michael Tarkanian, P.E. and Donald

Galler, P.E.; William J. Vigilante, PhD, CPE; and Kevin Sevart, P.E.

       Messrs. Tarkanian and Galler explain in their joint reports that Defendant’s mower

includes “a power take-off (PTO) clutch system” that engages and disengages “the cutting blades

from the mower engine.” (See expert report of Tarkanian/Galler dated May 23, 2019, attached

hereto as Exhibit “5,” pg. 3). When the PTO button is activated, the mower’s clutch is

electrically engaged and causes the blades to turn. When the PTO is turned off, “the clutch

disengages … and continues to provide some frictional resistance to aid in stopping the mower

blades.” (Id.).

       The mower also has an Operator Presence Control (“OPC”) switch embedded in the

platform where operators stand while riding the machine. (Id. at 3). The OPC switch energizes

the mower’s blade clutch when the operator stands on the platform. Therefore, the mower’s

blades rotate when the operator activates the PTO system and engages the OPC. The mower’s

blades “begin to stop rotating” when the operator deactivates the PTO or disengages the OPC by

departing the platform. (Id.).

       Messrs. Tarkanian and Galler explain that when an operator steps off the platform, the

mower’s “time delay module takes over” the rotation of the blades. (Id. at 4). “Instead of

immediately de-energizing the clutch, the time delay module inserts a delay (about 0.5 seconds)

and then de-energizes the clutch and the blades decelerate and stop rotating.” (Id.). Messrs.

Tarkanian and Galler opine that the mower’s “time delay module” is a design defect that is

inherently unsafe and unnecessary. (Id.). 1 Messrs. Tarkanian and Galler also opine that



1
  Messrs. Tarkanian and Galler note that Defendant removed the “time delay” in its later mower
models, and thereby decreased the stop time for the blades after an operator departs the platform.
(Id. at 4).
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Defendant’s mower is defective because its clutch/brake system lacks sufficient resistance

torque. (Id. at 5-6). The insufficient torque increases the time it takes the blades to stop rotating

after the clutch is disengaged. (Id.).

        Upon examining the mower with “high speed video,” Messrs. Tarkanian and Galler

determined that its blades do not stop rotating until 3.9 seconds after an operator departs the

mower’s platform. (Id. at 5). Messrs. Tarkanian and Galler explain that there are several

alternative designs for the mower’s clutch/brake system that would greatly reduce the time it

takes to bring the blades to a stop. (Id. at 8-9). In fact, when Messrs. Tarkanian and Galler

installed an alternative clutch/brake system in the Wright Stander mower, its blades stopped

turning in only .78 seconds after the OPC was disengaged. (See rebuttal report of

Tarkanian/Galler dated July 31, 2019, attached hereto as Exhibit “6,” pgs. 2-5).

        Mr. Sevart opines that Defendant’s mower was defectively designed in that its OPC

insufficiently stopped the blades after disembarkment, despite the fact that “rapid blade stop

technology pre-existed the Wright Stander design by decades” commencing “in the mid-1970s”.

(See expert report of Mr. Sevart dated May 24, 2019, attached hereto as Exhibit “7,” pgs. 2-3).

Mr. Sevart further opines that Defendant’s mower contains inadequate warning labels and

instructions for its users:

                A reasonable consumer’s expectation of a safety device is that it
                will be effective. The OPC system on the Wright Stander is a
                safety device intended to prevent accidental operator injury by
                braking the blades when the operator leaves the platform.
                Wright’s use of an OPC system suggests to the reasonable
                consumer that the safety system will effectively stop the blades
                rapidly enough to avoid injury in an unintentional separation from
                the machine. Wright’s defective OPC system fails to do that.
                Wright’s inclusion of an ineffective safety device, and their failure
                to warn about the ineffectiveness of their safety device, gives false
                assurances to the user that the product is safe, when it is not.



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(Id. at 3-4).

        Dr. Vigilante likewise opines that Defendant’s mower was defectively designed.

Dr. Vigilante explains that Defendant’s mower is a “standing lawn mower” rather than a

“traditional seated mower,” and that operators have more difficulty maintaining balance on

standing mowers than on seated mowers. (See expert report of Dr. Vigilante dated May 24,

2019, attached hereto as Exhibit “8,” pgs. 11-12). Although Defendant’s mower has a stationary

handlebar intended to help operators maintain their balance while standing on the platform, the

handlebar is insufficient because the operator cannot firmly grip the bar while simultaneously

manipulating the mower’s forward and reverse control bars. (Id. at 13-15).

        Dr. Vigilante further opines that the mower was unreasonably hazardous because Mr.

Gonzalez had insufficient time to escape the machine’s path. (Id. at 16-18). Utilizing Methods-

Time Measurement data, Dr. Vigilante conservatively estimates that it would have taken Mr.

Gonzalez at least 4.5 seconds to safely clear away from the mower after losing his balance on its

platform. (Id.). Meanwhile, as noted above, Defendant’s blades continue to run for 3.9 seconds

after departure from the mower’s platform.

III.    RESPONSE TO NUMBERED PARAGRAPHS

        1.      Denied as stated. During discovery, Defendant produced the documentation

concerning the 2014 and 2015 incidents involving operators falling from the same stander

mower and having body parts chopped off after contacting its still-moving blades as a result of

the same defectively designed clutch/brake system -- i.e., precisely what happened in this case,

years afterward. Defendant further acknowledged these strikingly similar incidents at Mr.

Wright’s deposition. (See pp. 2-4, supra & Exhibit “1”). Thereafter, Dr. Vigilante noted in his

report that Defendant was aware of the design defect:



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               Wright was aware of the inability of operators to avoid the mower
               after falling from it as well as the danger to operators should they
               fall and be run over by the mower. For example, in October 2015,
               Wright was notified by John Deere (a customer that Wright
               manufactured mowers for that are similar to the subject WS
               mower) about an incident where the operator (Rios) had his hand
               contact the blade after falling from the machine ([Dep.] WW, 75,
               80). Wright was also notified in August 2014 about an incident
               where the employee (Hamby) was injured when his feet were run
               over before the mower could shut off.

               Marco Gonzalez’s incident is similar to both the reports of the Rios
               and Hamby incidents and consistent with the information in
               Wright’s Instruction Manual. For example, Gonzalez testified that
               that he fell from the mower after it started to slide and that he was
               not able to move his body clear of the mower and its spinning
               blades before it ran over his hand.

               Wright knew or should have known that operators would not have
               sufficient time to escape the path of its MS mower should they
               inadvertently fall from it.

(Exhibit “7”, pg. 18).

       2.      Denied. It is well settled that “‘evidence of prior accidents involving the same

instrumentality is generally relevant to show that a defect or dangerous condition existed or

that the defendant had knowledge of the defect.’” Blumer v. Ford Motor Co., 20 A.3d 1222,

1228 (Pa. Super. 2011) (emphasis added) (quoting Lockley v. CSX Transp., Inc., 5 A.3d 383,

395 (Pa. Super. 2010)); see also In re Tylenol (Acetoaminophen) Mktg., Sales Practices & Prod.

Liab. Litig., 181 F.Supp.3d 278, 187 (E.D. Pa. 2016) (“In the appropriate circumstances,

evidence of prior occurrences and accidents involving a product which is identical or

substantially similar to the product which has allegedly caused an injury has generally been held

to be admissible at trial.”) (citations omitted). “‘Determining whether and to what extent

proffered evidence of prior accidents involves substantially, similar circumstances will depend

on the underlying theory of the case advanced by the plaintiffs.’” Blumer at 1229 (quoting Bitler



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v. A.O. Smith Corp., 400 F.3d 1227, 1239 (10th Cir.2004)). “‘If the evidence of other accidents

is substantially similar to the accident at issue in a particular case, then that evidence will assist

the trier of fact by making the existence of a fact in dispute more or less probable, and the greater

the degree of similarity the more relevant the evidence.’” Blumer at 1229 (quoting Bitler at

1239).

         Here, Plaintiffs have alleged that Defendant’s standing mower was defectively designed

because its blades take too long to stop after an operator falls from its platform. As expressly

acknowledged by Defendant, the two prior incidents involved the identical standing mower

(Hamby) or virtually identical mower (Rios), and the identical, defectively designed

clutch/brake system at issue. (See pp. 2-4, supra & Exhibits “1”, “2” & “3”). Moreover, as in

Mr. Gonzalez’s case, both prior incidents involved operators who fell from the mower’s

platform and had body parts chopped off because the blades did not stop rotating in time.

(See pp. 2-4, supra & Exhibits “1”, “2” & “3”). As such, these prior occurrences plainly are

sufficiently similar, and therefore relevant to show that a defect existed and/or that Defendant

had knowledge of the defect. See Blumer at 1228-1229. Accordingly, Defendant’s motion is

unavailing.

         3.     Denied for the reasons set forth in paragraphs 1-2, supra, which Plaintiffs

incorporate herein as though fully set forth at length.

         4-5.   Admitted.

         6-7.   Defendant’s corresponding paragraphs refer to a writing, the contents of which

speak for itself, and any attempt by Defendant to characterize same is therefore denied.

         8.     Defendant’s corresponding paragraphs refer to a writing, the contents of which

speak for itself, and any attempt by Defendant to characterize same is therefore denied.



                                                   11
Additionally denied as express speculation. Further denied for the reasons set forth in

paragraphs 1-2, supra, which Plaintiffs incorporate herein as though fully set forth at length.

       9.      Admitted.

       10.     Admitted in part, denied in part. It is admitted that Defendant was made aware of

the Rios incident in October 2015; it is denied that the incident’s occurring in October 2015

precludes its admissibility. Further denied for the reasons set forth in paragraphs 1-2, supra,

which Plaintiffs incorporate herein as though fully set forth at length.

       11-13. Defendant’s corresponding paragraphs refer to a writing, the contents of which

speak for itself, and any attempt by Defendant to characterize same is therefore denied.

Additionally denied as express speculation. Further denied for the reasons set forth in

paragraphs 1-2, supra, which Plaintiffs incorporate herein as though fully set forth at length.

       14-15. Denied for the reasons set forth in paragraphs 1-2, supra, which Plaintiffs

incorporate herein as though fully set forth at length.

       16.     Denied as stated for the reasons set forth in paragraph 2, supra, which Plaintiffs

incorporate herein as though fully set forth at length.

       17-20. No responsive pleading is required. Nonetheless, denied for the reasons set forth

in paragraph 2, supra, which Plaintiffs incorporate herein as though fully set forth at length.

       21.     It is admitted that factors to be considered in determining if the prior incidents are

sufficiently similar include: whether the same instrumentality was involved (Yes -- the Wright

Stander mower with the identical clutch/brake system at issue); whether the incidents occurred

under the same or similar circumstances (Yes -- the operators departed the platform and had

body parts chopped off due to the defectively designed clutch/brake system); and whether the




                                                 12
incidents occurred at substantially the same place (Yes -- at the point of the mower’s still-

moving blades).

          22.   It is admitted that “there must be a basic similarity of conditions and facts

between the prior accidents and the accident in question.” By way of further response, the

twoprior occurrences comprise far greater than a “basic similarity” but are virtually identical to

incident at issue, namely, the same mower, the same defectively designed clutch/brake system,

and operators’ body parts coming into contact with the mower’s still-moving blades after

departing the platform.

          23.   No responsive pleading is required. Nonetheless, denied for the reasons set forth

in paragraphs 1-2 & 21-22, supra, which Plaintiffs incorporate herein as though fully set forth at

length.

          24.   Denied. The Notice of Loss/Claim letters were proffered by Defendant, which

incidents Defendant expressly acknowledged at Mr. Wright’s deposition, and further, do not

comprise hearsay. See, e.g., In re Tylenol, 181 F.Supp.3d at 285 (evidence of prior incidents not

hearsay if offered to show knowledge or state of mind; “Reliable or not, they are notice of some

event of significance to this case and that likely takes them out of the hearsay rule”).

          25.   Denied. The record amply establishes a substantial similarity between the prior

incidents and the subject incident: the blades do not stop in time; the same mower; the same

defect (insufficient clutch/brake system); the same harm of body parts being chopped off after

departing the platform and coming into contact with the still-moving blades. Further denied for

the reasons set forth in paragraphs 1-2 & 21-22, supra, which Plaintiffs incorporate herein as

though fully set forth at length.




                                                  13
       26-27. Denied for the reasons set forth in paragraphs 1-2, 21-22 & 25, supra, which

Plaintiffs incorporate herein as though fully set forth at length.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter an Order,

in the form attached, denying Defendant’s motion in limine.

                                               Respectfully submitted,

                                               VILLARI, LENTZ & LYNAM, LLC


                                               /s/ Thomas A. Lynam, III___________
                                               THOMAS A. LYNAM, III, ESQUIRE
                                               LEONARD G. VILLARI, ESQUIRE
                                               Attorney ID Nos. 83817/68884
                                               100 N. 20th Street, Suite 302
                                               Philadelphia, PA 19103
                                               (215) 568-1990
                                               (215) 568-1920 (fax)
                                               tlynam@vll-law.com / lgvillari@aol.com




                                                  14
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         PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANT WRIGHT
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to the motion in limine of Defendant, Wright Manufacturing, Inc. (“Defendant”), seeking to

“preclude any and all references to or discussions of prior incidents and/or accidents involving

Defendant Wright Manufacturing, Inc.’s mowers.”

I.     MATTER BEFORE THE COURT

       Before the Court is Defendant’s motion in limine “to preclude any and all references to or

discussions of prior incidents and/or accidents involving Defendant Wright Manufacturing, Inc.’s

mowers.”

II.    QUESTION PRESENTED

       Should Defendant’s motion seeking to preclude any mention of two incidents that

Defendant knew about in 2014 and 2015, involving operators falling from the same stander

mower and having body parts chopped off after contacting its still-moving blades as a result of

the same defectively designed clutch/brake system -- i.e., precisely what happened in this case --
where evidence of similar prior incidents is patently admissible to show that a dangerous

condition existed, or that the defendant had knowledge of the defect?

       Suggested Answer: Yes.

III.   SUMMARY OF FACTS RELEVANT TO DEFENDANT’S MOTION

       Plaintiff Mr. Gonzalez suffered permanent injuries to his left hand after falling off

Defendant’s Wright Stander lawn mower and making contact with the still-moving blades.

Through their experts, Plaintiffs have determined that Defendant’s mower blades continue

spinning for 3.9 seconds after an operator departs the platform, thereby posing a grave risk to

operators who inadvertently fall from the mower. Plaintiffs also have discovered similar

incidents in 2014 and 2015 involving operators falling from the same stander mower and

having body parts chopped off because the mower blades did not stop in time -- and

Defendant had actual knowledge of this defect yet did nothing to address it:

                     Q.     … So this is a letter dated November 24, 2015, from
               John Deere & Company to you, correct?

                      [William Wright:]

                      A.      Yes.

                     Q.      And you would have received this at the time, it
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[of these] prior incidents at trial”, its motion is patently unavailing given that these strikingly

similar incidents reflect both: (a) the existence of the defect at issue; and (b) Defendant’s long-

held knowledge of same. Accordingly, Defendant’s motion should be squarely rejected.

IV.    LEGAL ARGUMENT

       THE 2014 AND 2015 PRIOR INCIDENTS -- INVOLVING THE SAME STANDER
       MOWER, THE SAME CLUTCH/BRAKE SYSTEM AND THE SAME HARM OF
       BODY PARTS BEING CHOPPED OFF BECAUSE THE BLADES DO NOT STOP
       IN TIME -- ARE SUBSTANTIALLY SIMILAR AND THUS ADMISSIBLE TO
       SHOW THAT A DANGEROUS CONDITION EXISTED AND/OR DEFENDANT
       HAD KNOWLEDGE OF THE DEFECT.

       Defendant seeks to preclude evidence of two incidents that Defendant knew about in

2014 and 2015, involving operators falling from the same stander mower and having body parts

chopped off after contacting its still-moving blades as a result of the same defectively designed

clutch/brake system -- i.e., precisely what happened in this case. As the law is clear that

evidence of similar prior incidents is admissible to show that a dangerous condition existed, or

that the defendant had knowledge of the defect, Defendant’s motion fails.

       It is well settled that “‘evidence of prior accidents involving the same instrumentality is

generally relevant to show that a defect or dangerous condition existed or that the


                                                   5
defendant had knowledge of the defect.’” Blumer v. Ford Motor Co., 20 A.3d 1222, 1228 (Pa.

Super. 2011) (emphasis added) (quoting Lockley v. CSX Transp., Inc., 5 A.3d 383, 395 (Pa.

Super. 2010)); see also In re Tylenol (Acetoaminophen) Mktg., Sales Practices & Prod. Liab.

Litig., 181 F.Supp.3d 278, 187 (E.D. Pa. 2016) (“In the appropriate circumstances, evidence of

prior occurrences and accidents involving a product which is identical or substantially similar to

the product which has allegedly caused an injury has generally been held to be admissible at

trial.”) (citations omitted). “‘Determining whether and to what extent proffered evidence of prior

accidents involves substantially, similar circumstances will depend on the underlying theory of

the case advanced by the plaintiffs.’” Blumer at 1229 (quoting Bitler v. A.O. Smith Corp., 400

F.3d 1227, 1239 (10th Cir.2004)). “‘If the evidence of other accidents is substantially similar to

the accident at issue in a particular case, then that evidence will assist the trier of fact by making

the existence of a fact in dispute more or less probable, and the greater the degree of similarity

the more relevant the evidence.’” Blumer at 1229 (quoting Bitler at 1239).

       Here, Plaintiffs have alleged that Defendant’s standing mower was defectively designed

because its blades take too long to stop after an operator falls from its platform. As expressly

acknowledged by Defendant, the two prior incidents involved the identical standing mower

(Hamby) or virtually identical mower (Rios), and the identical, defectively designed

clutch/brake system at issue. (See pp. 2-5, supra & Exhibits “1”, “2” & “3”). Moreover, as in

Mr. Gonzalez’s case, both prior incidents involved operators who fell from the mower’s

platform and had body parts chopped off because the blades did not stop rotating in time.

(See pp. 2-5, supra & Exhibits “1”, “2” & “3”). As such, these prior occurrences plainly are

sufficiently similar, and therefore relevant to show that a defect existed and/or that Defendant




                                                   6
had knowledge of the defect. See Blumer at 1228-1229. Accordingly, Defendant’s motion is

unavailing.

       WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter an Order,

in the form attached, denying Defendant’s motion in limine.

                                            Respectfully submitted,

                                            VILLARI, LENTZ & LYNAM, LLC


                                            /s/ Thomas A. Lynam, III___________
                                            THOMAS A. LYNAM, III, ESQUIRE
                                            LEONARD G. VILLARI, ESQUIRE
                                            Attorney ID Nos. 83817/68884
                                            100 N. 20th Street, Suite 302
                                            Philadelphia, PA 19103
                                            (215) 568-1990
                                            (215) 568-1920 (fax)
                                            tlynam@vll-law.com / lgvillari@aol.com




                                               7
                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MARCO GONZALEZ and MARTHA          :
 GONZALEZ, H/W,                     :
                                    :
                      Plaintiffs    :                         JURY TRIAL DEMANDED
            v.                      :
                                    :
 WRIGHT MANUFACTURING, INC. d/b/a   :                         NO. 18-CV-3179
 WRIGHT d/b/a WRIGHT MANUFACTURING, :
                                    :
                      Defendant.    :
                                    :
                                    :
                                    :
                                    :

                                CERTIFICATE OF SERVICE

       I, Thomas A. Lynam, III, Esquire, hereby certify that I am this day serving the foregoing

document upon all counsel of record, via electronic filing.


                                      VILLARI, LENTZ & LYNAM, LLC


                                      BY:   /s/ Thomas A. Lynam,
                                             THOMAS A. LYNAM, III, ESQUIRE
                                             LEONARD G. VILLARI, ESQUIRE
                                             Attorneys for Plaintiff
                                             Attorney ID Nos. 83817/68844
                                             100 North 20th Street, Suite 302
                                             Philadelphia, PA 19103
                                             (215) 568-1990
                                             (215) 568-1920 (fax)
                                             tlynam@vll-law.com/lgvillari@aol.com


Dated: September 27, 2019
EXHIBIT “5”
              Gonzalez Mower Accident Investigation
Introduction

This report summarizes our investigation of an accident that occurred to Marco Gonzalez on
August 8, 2017 while operating a Wright Standing lawn mower. We were asked to write this
report by Villari, Lentz & Lynam, LLC who represents Mr. Gonzalez in a legal matter related
to the accident.

We conducted the following tasks as part of our investigation

   1.   Examined the incident mower at Picture Perfect Landscaping on July 2, 2018
   2.   Examined the incident mower in Avon, Massachusetts on April 5, 2019
   3.   Examined the incident mower in Avon, Massachusetts on March 22, 2019
   4.   Measured the deceleration time of the incident mower
   5.   Measured brake torque capabilities


We have also been provided with the following documents

   1. January 16, 2019 Deposition of William Wright
   2. December 10, 2018 Defendant Discovery Responses
   3. September 26, 2018 Defendant’s Initial Disclosure
   4. December 18, 2018 Deposition of Martha Gonzalez
   5. December 18, 2018 Deposition of Marco Gonzalez
   6. Medical Records from the Philadelphia Hand Center
   7. October 11, 2018 Plaintiff’s Discovery Responses
   8. September 21, 218 Plaintiff’s Initial Disclosures
   9. Reading Hospital Records
   10. August 15, 2017 Audio Recording of Interview with Marco Gonzalez
   11. Sign in sheet dated November 30, 2018 from an Initial Mower Inspection
   12. February 5, 2019 Deposition of Calogero Sottosanti


Background

On August 8, 2017 Mr. Gonzalez was using a stand-up lawn mower made by Wright. It is a
52 inch-wide mower with 3 sets of blades. The model number is WS52FX691E, serial
number 82866. It was manufactured in June of 2015. Figures 1 and 2 are photos of the
mower showing its general appearance from the back (operator platform side) and the front,
respectively.

Mr. Gonzalez hit a metal railing while using the mower, and was knocked off the mower. The
blades decelerate to a stop automatically if the operator comes off the stand-up platform.

                                           1
When Mr. Gonzalez fell off the mower he was in such a position that his hand went under
the mower and contacted the blades while they were turning, even though they were in the
process of decelerating. He suffered hand injuries at that time and eventually the thumb and
index fingers of his left hand had to be amputated.




             Figure 1. Photo of Wright Mower from Operator Platform Side




                 Figure 2. Photo of Wright Mower showing Front Side.


                                           2
   Mower Electrical Blade Control

   The Wright Stander mower includes a power take-off (PTO) clutch system used to engage
   or disengage the cutting blades from the mower engine. The magnetic clutch is electrically
   operated and a simple drawing of a typical clutch is shown in Figure 3. The clutch is coupled
   to a 1” driveshaft from the mower engine. One side of the clutch is a pulley sheave,
   connected to the mower blades via a serpentine v-belt. The sheave does not rotate until the
   clutch engages with it when it is energized. When the PTO-on button is pulled by the
   operator, electrical power is provided to the clutch causing it to magnetically couple to the
   pulley sheave, allowing mechanical power from the engine to be transferred to the blades.
   When the PTO is shut off, the clutch disengages from the pulley sheave, and continues to
   provide some frictional resistance to aid in stopping the mower blades.




                         Figure 3. General Appearance of Blade Clutch

The schematic for the mower is shown in Figure 4. A simplified schematic is shown in Figure 5
and will be used to describe the operation of the electrical blade clutch control in the following
discussions.

Energizing the blade clutch
The mower operator stands on a platform while using the mower. The platform has an “Operator
Presence Control” switch (OPC) which closes due to the weight of the operator pushing the
platform and switch in a downward direction. The OPC is connected so that one side is positive
when the blade switch on the operator console is moved. That causes the other side of the
switch to become positive as well and controls a relay that energizes the blade clutch. When the
user has engaged the OPC and pulls the PTO switch seen below in Figure 6, the blades begin
to rotate. Pushing the PTO, or disengaging from the OPC, de-energizes the clutch and the
blades begin to stop rotating.

                                                3
               Figure 6. Control Panel from the Wright Stander Instruction Manual


De- energizing the blade clutch

When the operator steps off the platform the OPC opens and a time delay module takes over.
Instead of immediately de-energizing the clutch, the time delay module inserts a delay (about
0.5 seconds) and then de-energizes the clutch and the blades decelerate and stop rotating.

Purpose of the Time Delay Module

According to testimony of William Wright, this delay was inserted to solve a problem caused by
the mowing of bumpy terrain. In that case the OPC would disengage the blades whenever a
significant enough bump is encountered to interrupt mower operation. The time delay module
keeps the relay closed when a bump is encountered, and allows the blades to continue rotating
normally. When the operator steps off the platform the time delay module does not immediately
open the relay. It opens the relay after a preset time period. According to documents provided
by Wright, and Mr. Wright’s deposition (page 83), the time delay is 0.5 ± 0.125 seconds (0.375-
0.625). Mr. Wright also testified that on later mower models there is no time delay, but the OPC
is moved to a different location. The change in location allows the OPC to open the relay as the
operator leaves the platform, and therefore does not need to account for bumpy terrain with a
delay.

Test data taken included in Appendix A of this report shows that the time delay that was
installed in the mower at the time of the accident provided a time delay of approximately 0.360
seconds. The large peaks in the data traces are a result of the clutch coil inductance. The initial
yellow and blue vertical lines correspond to the opening of the OPC and subsequent de-
energization of the clutch coil respectively.



                                                4
Blade Deceleration Measurement

Blade deceleration was measured with the aid of a digital timer and high-speed video camera.
The digital timer measured time to an accuracy of 0.1 seconds. The timing was started when the
operator stepped off the platform. The signal from the OPC was used to start timing. Video
recording was made using an Olympus TG-5 camera recording at 480 frames per second.
Figure 7 below is a snapshot from a typical video.




                                Figure 7. Test Video Snapshot

The digital timer is on the right side of the mower blades. The camera is aimed at the blades.
Only the blade closest to the camera is visible and the red blur is the one blade tip that has
been wrapped in red tape. The other blade tip has been wrapped in yellow tape.

Blade Deceleration Times

The clutch at the time of the incident was a Warner 5218-243 electric PTO clutch. The Wright
part number for this clutch is 71410020. This clutch has a nominal static torque of 200 ft-lbs1,
which is the amount of torque required for the clutch to slip on the pulley sheave. When the
clutch was electrically disengaged, we measured the resistance of rotation between the sheave
and this clutch to be 3.75 ft-lbs. Using high speed video, we found that when the user steps off
of the platform and triggers the OPC, the mower blades stopped in 3.9 seconds. With the OPC
time delay defeated, the blades stopped in 3.5 seconds, an improvement of approximately 0.4
seconds. This is commensurate with the 0.36 second OPC delay measured in the oscilloscope
data in appendix A.

We installed an Ogura GT3.5-MC08 clutch on the incident Wright Standup mower, and
measured the time needed to stop the blades with this clutch. Ogura is a Japanese
manufacturer of clutches similar in function to Warner products. In his deposition, Mr. Wright
testified that his company has experimented with Ogura clutches, and even added Ogura

                                               5
clutches    to    certain mowers      in   their  lineup    (page     39).   A    file  named
WMI_CLUTCH_HISTORY.PDF from the Wright Manufacturing website shows that an Ogura
GT3.5 clutch is used on Wright WSZK2 52” and 61” mowers, serial numbers 75180 and higher1.
According to Ogura’s website2, the GT3.5-MC08 PTO clutch/brake has a static torque of 300 ft-
lbs when electrically engaged. When electrically disengaged, we measured the braking
resistance of the sheave to be 5.75 ft-lbs. Ogura’s installation documents state that braking
torques can range from 2-10 ft-lbs depending on the model. 5.75 ft-lbs is a 53% increase in
torque, when disengaged, versus the stock Warner electric PTO clutch. As would be expected,
the Ogura clutch fitted-mower stopped faster than the stock clutch, at 3.5 seconds. With the
OPC delay removed from the system, the mower stopped in 3.2 seconds. Switching from the
Warner clutch, to the Ogura clutch without the OPC delay, reduces the blade stopping time by
0.7 seconds, from 3.9 seconds to 3.2 seconds. This is a reduction of 18% of stoppage time, with
a simple drop-in replacement.

While 0.7 seconds difference in stopping time may not sound like a significant difference,
analysis of the slow-motion videos show that the blades on the unmodified mower are rotating
at approximately 738 RPM at 0.7 seconds before coming to a complete stop. This equates to a
rotational kinetic energy of approximately 253 joules, for the entire system. This energy is the
equivalent of being hit by the sharp edge of a non-rotating lawnmower blade moving at 51 miles
per hour.

On page 37 of his deposition, Mr. Wright testified that as clutches age, their time to blade
stoppage decreases. Since the Warner stock clutch tested was older and broken in, we can
assume that it stops faster than it did when newly installed. On Page 72 of his deposition, Mr.
Wright states that they allow mowers to leave the factory that take as long as 5.7 seconds to
come to a stop. The Ogura clutch was brand new when tested, we can assume that its stopping
ability will only improve with time and stop faster – increasing the performance gap between the
Ogura and the Warner clutch. With use, the time to stoppage of the blades with the Ogura
clutch will decrease.


Discussion of stopping torque

Figure 8 illustrates the braking behavior of the two clutches, Warner and Ogura. Here, we plot
our measured angular velocities of the mower blades, measured via high-speed video, plotted
versus time elapsed in the video. Each measurement started at 377 rad/s, and ended at 0 rad/s.
The amount of clutch braking torque dictates the slope of the line, and thus changes the time for
the blades to come to a stop. The data exhibit highly linear braking behavior, as is expected.
Thus a linear model can be used to predict the system in other braking scenarios.




                                               6
                               400


                               350


                               300
  Angular velocity (rad/sec)




                               250
                                                                       y = -107.64x + 377
                                                                           R² = 0.9995
                               200


                               150                 y = -122.4x + 377
                                                      R² = 0.9907

                               100


                               50


                                0
                                     0   0.5   1             1.5             2              2.5   3   3.5   4

                                                        Times to stop (seconds)
Figure 8: Angular velocity versus time; the Ogura clutch is represented by black circles, the
Warner clutch by squares. Linear fits and R2 values are to the left and right of each line.


The energy of a rotating system such as a lawn mower’s blades and power transition elements
can be represented by the following equation:

                                                                         1
                                                              𝐸"#"$%& = ( 𝐼𝜔-
                                                                         2

where 𝐼 is the moment of inertia, and w is the angular velocity, of each component respectively.
Using 377 rad/s as our initial angular velocity (3600 rpm), and estimating 0.085 kg-m2 as the
sum of all moments of inertia (clutch, pulleys, shafts, blades), the total rotational kinetic energy
of the system is calculated to be 6013 joules.

Once the engine is cut, the PTO is shut off, or the OPC disengages power, the system must
dissipate these 6013 joules in order for the blades to stop rotating. This energy is dissipated
through torque times the rotation distance (radians) until stoppage. This is expressed by the
equation:

                                                      𝐸./"$ = (𝜏23$%435. + 𝜏8459% ) × 𝜃


                                                                            7
Here 𝜏23$%435. represents the sum of the torques resisting rotation which are inherent to the
machine itself (frictional forces, belt forces, bearing losses etc). 𝜏8459% is the torque applied by
the brake/clutch system, and q is the total amount of rotations (radians) through which the
system rotates during deceleration to stopping.

For the system to stop rotating, 𝐸"#"$%& must equal 𝐸./"$ , meaning all of the energy has been
dissipated. We can calculate the amount of rotation 𝜃 for each clutch tested from the data in
Figure 8, equal to 667.3 radians for the Warner clutch, and 553.9 radians for the Ogura. It was
measured that the 𝜏8459% for the Warner and Ogura clutches are 3.75 ft-lbs (5.08 N-m) and 5.75
ft-lbs (7.8 N-m), respectively. Therefore, for the Warner clutch:

                                 6013 J = (tinternal + 5.08) * 667.3

                                     and for the Ogura clutch:

                                  6013 J = (tinternal + 7.8) * 553.9

Solving for 𝜏23$%435. produces 3.93 N-m for the Warner clutch, and 3.06 N-m for the Ogura. For
the purposes of this report, we will treat these numbers as upper and lower bounds of the
“internal torque.” It should be noted that these numbers are sensitive to changes in 𝐸"#"$%& as a
function of the moment of inertia and q. As the total energy in the system (𝐸"#"$%& ) increases,
the numbers for 𝜏23$%435. will increase and converge. Our 6013 J calculation is a conservative
estimate; it accounts for the estimated moments of inertia of the components (clutch, pulley
sheaves, blades, shafts), but cannot account for efficiency losses, inertial contributions of the
belts, slippage, and other effects. The effects of q are also significant on the 𝜏23$%435.
calculation. If either q value changed by approximately 10%, our tinternal values would be
essentially the same. The closeness in our 𝜏23$%435. calculations means that our mathematical
model for the system is valid.

Alternate Clutch/Brake Designs

On page 47 of his deposition, Mr. Wright testified that he had never asked the brake/clutch
manufacturers if stopping the blades sooner was possible with different products. He had relied
on them to offer “the best clutch for a mower,” (page 48) which is undirected and does not put
any emphasis on safety.

Warner offers several products which should have been considered by Wright Manufacturing as
alternatives to the Warner 5218-243 employed in the current design. Warner’s website
advertises a CMS 250 MagStop clutch with a 15 ft-lb (20.34 N-m) braking option3. In this case,
20.34 N-m is the value used for tbrake, as described above. Recalling the equations for our two
values of tinternal:
                          𝐸"#"$%& = 𝐸./"$ = (𝜏23$%435. + 𝜏8459% ) × 𝜃


                                                  8
                                   6013 J = (3.93 + 20.32) × 𝜃
                                                or
                                   6013 J = (3.06 + 20.32) × 𝜃

Solving for 𝜃 in these two cases gives us 248 and 257.2 radians, respectively. These are equal
to 1.32 to 1.36 seconds stopping time. By utilizing a clutch with 15 ft-lb braking force, we predict
a stopping time of more than 2 seconds better than the stopping time of the stock Warner
clutch.

The static torque (up to 250 ft-lbs) and horsepower capabilities of the MagStop clutches also
seem to be appropriate for the Wright Stander. Like the Warner 5218-243 and the Ogura clutch,
the CMS 250 MagStop operates at 12 V, with a steady state amperage of 6-7 A4.

A second option would be to install an electromagnetic braking system, in addition to the
existing clutch. Warner also manufactures a number of such brakes. A Warner PB-500 brake,
for one example, could be coupled to the clutch sheave and provides 40 ft-lbs of braking force5.
40 ft-lbs (or 54.23 N-m) of braking torque would stop the system in a calculated time of
approximately 0.55 seconds. A PB-500 magnet and armature can currently be purchased from
PLC Central and Motion Industries for a combined retail price of $367, which is within range of
the retail pricing of the Ogura and Warner clutches currently used by Wright Industries.

Although 0.55 seconds stopping time with 54.23 N-m of torque may sound extreme, it is not an
unreasonable calculation. Kawasaki reports an output torque of 45 N-m at 3600 RPM for the
FX691V engine6 that powers the 52” Wright Stander. In our high-speed video measurements,
this output torque accelerated the mower blades from zero to 3600 RPM in 0.88 seconds. It
stands to reason that a higher braking torque (54.23 N-m) could stop the system in a faster time
than the output torque (45 N-m) accelerates the system.



Conclusions

We make the following conclusions based on our examination and testing of the incident
mower, our review of the documents, and our education, background, and training.

   1. A clutch/brake with increased resistance torque, and removal of the time delay, would
      have reduced or prevented Mr. Gonzalez’s injuries. A simple clutch swap, which
      increased the stopping torque from 3.75 ft-lbs to 5.75 ft-lbs, decreased the stopping time
      from 3.9 seconds to 3.2 seconds, an 18% reduction.

   2. The design of the clutch/brake system in the Wright Stander WS52FX691E is defective,
      and neglected to emphasize operator safety. Mr. Wright testified that no effort was made
      to ask Warner nor test alternative clutches for decreased stopping time.



                                                 9
3. Alternative clutch/brake systems were available to Wright Manufacturing which would
   have decreased the stopping time. Such systems were not explored by Wright
   Manufacturing, despite their availability from their current clutch vendor, Warner.

4. The design of the OPC system in the Wright Stander WS52FX691E is defective. The
   time delay, as configured in the Wright Stander WS52FX691E that injured Mr. Gonzalez,
   is inherently unsafe and unnecessary. Wright Manufacturing has since changed their
   OPC design to not require a time delay.




          Michael Tarkanian, P.E.                          Donald Galler, P.E.




          May 23, 2019




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11
     Figure 4. Mower Schematic
12
     Figure 5. Simplified Blade Clutch Control
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       accessed on 5/18/19




                                           13
            Appendix A
Installed Time Delay Measurement




              14
EXHIBIT “6”
July 31, 2019

VILLARI, LENTZ & LYNAM, LLC
100 North 20th Street, Suite 302
Philadelphia, PA 19103

Attn: Thomas A. Lynam

Re: Gonzalez v. Wright

Dear Mr. Lynam,

At your request we have reviewed the Defense’s expert reports, and have prepared a rebuttal
response to the reports of Mr. Danaher and Mr. Main.

We will address our rebuttals to the following points:

1. Both Mr. Danaher and Mr. Main rely on the fact that the subject mower is able to stop faster
   than the seven second ANSI B71.4 standard. Mr. Main asserts that blade stopping time is not
   a design criterion, that the mower is safe and not defective. We disagree. This document will
   show that a reduction in stopping time to less than 0.8 seconds is possible, safe, and effective,
   without damage to the Wright mower and without significant engineering redesign. In Mr.
   Wright’s deposition (p. 48) he testified that Wright Manufacturing had made no effort to
   determine how fast the blades could stop, and that they relied upon Warner to provide them
   with the “best clutch” for their class of mower.

   The ANSI B71.4 standards cited by Danaher and Main specify that the operator presence
   control must stop the blades from spinning within 7 seconds, but the standard also states that
   “stopping of the implement/attachment drive is for the protection of an operator
   intentionally leaving the operator's position while the implement/attachment drive is in
   operation. Operator-presence controls for the implement/attachment drive are not intended to
   protect bystanders from run-over or other accidents. Also, they are not intended to protect
   the operator from sudden access to the blades, which would occur because of jumping
   or falling from the machine.” (ANSI B71.4 2004 p. 71; 2012 p. 114; 2017 p. 112).
   Therefore, the B71.4 standard is not a relevant engineering benchmark when the operator
   unintentionally leaves or falls off of the mower, as was the case with Mr. Gonzalez. The
   consumer – or operator in this case -- should reasonably expect that the blades will stop
   before they can be reached when unintentionally falling off of the machine. An analogous
   example is the CPSC regulations controlling the length of consumer mower handles to make
   sure the blades stop before they can be touched.

2. On page 29 of Mr. Main’s expert report, he writes that “plaintiff’s experts Mr. Tarkanian and
   Mr. Galler suggest that the Warner CMS 250 MagStop clutch is an alternative clutch/brake
   that would stop in a predicted time of more than 2 seconds better than the stopping time of
   the stock Warner clutch. This clutch/brake design requires power to actuate. Power to actuate
   presents a potential unsafe failure mode because power is required to stop the blades. This
   clutch should be disqualified for this reason alone.” The point of our example of the CMS
   250 MagStop clutch was to illustrate that various products were available from Warner that
   could have stopped the mower blades faster than the clutch installed on the Wright Stander in
   question. The CMS 250 MagStop was not meant to be the ONLY viable solution, but one of
   many possibilities. Additionally, unless Warner’s product documentation is incorrect, we
   believe Mr. Main’s assessment of the way the CMS 250 MagStop operates is incorrect.
   Warner’s product catalog, accessed at https://www.warnerelectric.com/-
   /media/Files/Literature/Brand/warner-electric/catalogs/p-1698-we.ashx on July 28, 2019,
   states that “the MagStop clutch/brakes combine an electric friction clutch with a permanent
   magnet brake. Electric current applied to the clutch coil draws the armature to the rotating
   rotor, engaging the clutch and rotating the blade through the pulley. Stopping current flow to
   the coil causes the armature leaf springs to pull the backside of the armature (which acts as
   the braking surface) into contact with the permanent magnet braking surfaces so the braking
   torque generated by those magnets can stop the blade…” The is exactly the opposite of the
   scenario Mr. Main describes. Warner’s description makes clear that power must be applied to
   engage the clutch and rotate the blades; loss of power engages the permanent magnets and
   the blades stop rotating.

3. On page 22 of Mr. Main’s report, he writes that “Achieving a substantially faster stopping
   time would require major changes to the mower system. New, different, or stronger belts
   would likely be required, or a different drive system entirely. The clutch/brake
   supporting/mounting structure would likely need to be strengthened to counteract the
   increased forces applied by the clutch/brake.” He continues on page 23, writing “minimizing
   the stopping time is not a design criterion. If it were, substantial design changes to
   commercial mowers would be required.” We do not concur, and our testing and data show
   otherwise.

   We tested Mr. Main’s hypothesis that achieving substantially faster stopping times would
   require major changes to the mower system, by installing a Warner PB-1000 electromagnetic
   brake, much like the Warner PB-500 referenced in our original expert report. In our report,
   we calculated that the PB-500, at a maximum 40 ft-lbs (54.23 N-m) braking torque, could
   stop the Wright Stander in question in 0.55 seconds. Since Kawasaki reports a maximum
   torque output of 45 N-m (33.2 ft-lbs) at 3600 rpm for the engine installed on the Wright
   Stander, we assumed that we could safely STOP the blades with an equal and opposite
   braking torque of 45 N-m. If the machine was engineered by Wright to accelerate due to 45
   N-m torque, it would equally be able to decelerate due to 45 N-m torque. After installing the
   PB-1000 and measuring the resistance of rotation to be approximately 5.5 ft-lbs, including
   the Ogura clutch from our original report, we adjusted the voltage and current to the
   electromagnetic brake to exert approximately 27.5 ft-lbs of torque, totaling 33 ft-lbs (or 45
   N-m) of torque resisting rotation of the blades. The signal to engage the brake was coupled to
   the OPC: when the user stepped off of the platform, the mower clutch was disengaged and
   the PB-1000 was engaged, simultaneously. The OPC time delay was removed in this testing.
   Using the PB-1000 brake to create a total of 45 N-m braking torque, we were able to
   stop the Wright Stander in 0.78 seconds.




                                                                                               2
    No belts were broken, no bolts were sheared, no blades were thrown, no costly engineering
    redesigns were required. On page 30 on his report, Mr. Main writes that “such an abrupt
    stopping application at the sheave would cause the drive belt to fly off on the idler side.” Our
    testing showed that this is not the case. In figure 1, screenshots of the high-speed video taken
    to measure the time to stop, we see the blades rotating at full speed at 0.00 seconds, and the
    blades fully stopped with the clock indicating 0.8 seconds1.




                      (a)




                    (b)
      Figure 1: (a) blades rotating at full-throttle at 0.0 seconds, and (b) the blades fully stopped
                                  with the clock showing 0.8 seconds.

    The armature of the PB-1000 was mounted to the central blade pulley sheave, as seen in
    Figure 2. The PB-1000 coil was mounted to a steel plate, which was then attached to the
    frame of the Wright Stander, without any modification, with c-clamps.




1
 Note that in the code used to trigger the timer relative to the OPC, the clock begins timing at 0.1 seconds, rather
than 0.0 seconds. In the highspeed video, we measured the blades stopped at 0.88 seconds, which is actually 0.78
seconds when accounting for the extra 0.1 seconds due to the clock code.


                                                                                                                   3
         Figure 2: The Warner PB-1000 brake mounted to the center blade sheave

The electrical requirements of the additional powered brake were approximately 1.4 A and 2
V for the braking period of less than 1 second.

On page 29 of Mr. Main’s July 24, 2019 report he opines that the brake we used represents
an unsafe design because power is required to actuate the brake. We have the following
comments with respect to that opinion:

   •   The mower braking time would not be any less than the present standard time
       (approximately 4 seconds) if the additional brake should fail, assuming the existing
       brake is still functional.
   •   Loose wires, braking coil failures and electrical control failures are detectable
       conditions. If the additional brake were to become electrically non-functional because
       of a detectable failure prior to braking then one of the following actions could be
       taken:

           o Engine shut down
           o Indicator alerting operator of a high-speed braking failure.

   •   The power required for the additional brake would not be a burden on the mower’s
       existing electrical system. The power requirements of the additional brake we used
       are modest as described above. The mower was delivered to us with an Exide GT-R
       battery that has 25 minutes of capacity at 25 A. These figures equate to 10.4 A-hours.
       The brake requirements of 1.4 A for 1 second are only 0.00038 A-hours which is
       roughly 25,000 times less than the battery capacity.


                                                                                            4
       •     The power required for the additional brake could be stored in additional energy
             storage devices, such as capacitors or small rechargeable batteries, for the sole use by
             the additional brake. This would isolate the brake energy from the mower’s electrical
             system and provide an additional level of failure protection.

4. On page 30, Mr. Main writes that “Plaintiff’s expert Mr. Vigilante estimated that a fall from
   the mower would occur in 0.6 seconds. Assuming this value is close to accurate, even in the
   best circumstance, the Tarkanian-Galler or Sevart alternative designs would not sufficiently
   reduce the stopping time to prevent or reduce Mr. Gonzalez’s injury.” It is now clear, with
   the 0.78 second stopping time we achieved with minimal engineering changes to the mower,
   that the stopping time could have been reduced sufficiently to prevent or reduce Mr.
   Gonzalez’s injury. We agree, that with the as-designed Wright Stander stopping time
   measured to be 3.86 seconds, Mr. Gonzalez had little chance to avoid injury. But the
   difference between a fall of 0.6 seconds and a measured and demonstrated stopping time of
   0.78 seconds would have given Mr. Gonzalez a much better chance of avoiding injury. On
   page 1 of his report, Mr. Main summarizes that “in no case is any alternative design
   sufficiently practical to stop the mower blades fast enough to prevent the injury to Mr.
   Gonzalez.” Our work here shows that Mr. Main has no basis to make this claim.

We stand by our conclusion that the Wright Stander design is defective: our original report
showed that we could stop the mower blades more quickly with a higher torque clutch; our work
related to this rebuttal showed that the addition of a complementary braking system could stop
the system in as little as 0.78 seconds. By Mr. Wright’s own admission, Wright Manufacturing
did no testing or research to determine how fast blades could be stopped. As mentioned in our
original report, the cost of the additional brake is small relative to the overall cost of the mower,
and is worth the elimination of the risk of blade contact.



Sincerely,




Michael Tarkanian, P.E.                                Donald Galler, P.E.




                                                                                                    5
EXHIBIT “7”
